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11                             UNITED STATES DISTRICT COURT

12                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

13    UNITED STATES OF AMERICA,                 ED CR No. 24-134(A)-JFW

14               Plaintiff,                     PLEA AGREEMENT FOR DEFENDANT
                                                JONATHAN A. BARAJAS NAVA
15                     v.

16    JONATHAN A. BARAJAS NAVA,

17               Defendant.

18

19                This constitutes the plea agreement between Jonathan A.
20    Barajas Nava (“defendant”) and the United States Attorney’s Office
21    for the Central District of California (the “USAO”) in the above-
22    captioned case.       This agreement is limited to the USAO and cannot
23    bind any other federal, state, local, or foreign prosecuting,
24    enforcement, administrative, or regulatory authorities.
25                                DEFENDANT’S OBLIGATIONS
26                Defendant agrees to:
27                a.    At the earliest opportunity requested by the USAO and
28    provided by the Court, appear and plead guilty to a single-count
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 1    First Superseding Information in the form attached to this agreement

 2    as Exhibit A or a substantially similar form, which charges defendant

 3    with damage to religious property, in violation of 18 U.S.C.

 4    §§ 247(a)(1), (d)(3).

 5                b.    Not contest facts agreed to in this agreement.

 6                c.    Abide by all agreements regarding sentencing contained

 7    in this agreement.

 8                d.    Appear for all court appearances, surrender as ordered

 9    for service of sentence, obey all conditions of any bond, and obey

10    any other ongoing court order in this matter.

11                e.    Not commit any crime; however, offenses that would be

12    excluded for sentencing purposes under United States Sentencing

13    Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

14    within the scope of this agreement.

15                f.    Be truthful at all times with the United States

16    Probation and Pretrial Services Office and the Court.

17                g.    Pay the applicable special assessment at or before the

18    time of sentencing unless defendant has demonstrated a lack of

19    ability to pay such assessments.

20                                THE USAO’S OBLIGATIONS

21                The USAO agrees to:
22                a.    Not contest facts agreed to in this agreement.
23                b.    Abide by all agreements regarding sentencing contained
24    in this agreement.
25                c.    At the time of sentencing, move to dismiss the
26    underlying indictment as against defendant.            Defendant agrees,
27    however, that at the time of sentencing the Court may consider any
28    dismissed charges in determining the applicable Sentencing Guidelines

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 1    range, the propriety and extent of any departure from that range, and

 2    the sentence to be imposed.

 3                d.    At the time of sentencing, provided that defendant

 4    demonstrates an acceptance of responsibility for the offense up to

 5    and including the time of sentencing, recommend a two-level reduction

 6    in the applicable Sentencing Guidelines offense level, pursuant to

 7    U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

 8    additional one-level reduction if available under that section.

 9                                 NATURE OF THE OFFENSE

10                Defendant understands that for defendant to be guilty of
11    the crime charged in the single-count First Superseding Information,
12    that is, damage to religious property in violation of Title 18,
13    United States Code, Sections 247(a)(1), (d)(3), the following must be
14    true: (1) the defendant defaced, damaged, or destroyed religious real
15    property, or attempted to do so; (2) the defendant did so, or
16    attempted to do so, using fire or an explosive; (3) the defendant
17    acted intentionally; (4) the defendant did so because of the
18    religious character of the property; and (5) the offense was in or
19    affected interstate or foreign commerce.
20                              PENALTIES AND RESTITUTION
21                Defendant understands that the statutory maximum sentence
22    that the Court can impose for each violation of Title 18, United
23    States Code, Sections 247(a)(1), (d)(3), is: 20 years’ imprisonment;
24    a 3-year period of supervised release; a fine of $250,000 or twice
25    the gross gain or gross loss resulting from the offense, whichever is
26    greatest; and a mandatory special assessment of $100.
27                Defendant understands that supervised release is a period
28    of time following imprisonment during which defendant will be subject

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 1    to various restrictions and requirements.              Defendant understands that

 2    if defendant violates one or more of the conditions of any supervised

 3    release imposed, defendant may be returned to prison for all or part

 4    of the term of supervised release authorized by statute for the

 5    offense that resulted in the term of supervised release, which could

 6    result in defendant serving a total term of imprisonment greater than

 7    the statutory maximum stated above.

 8                Defendant understands that, by pleading guilty, defendant
 9    may be giving up valuable government benefits and valuable civic
10    rights, such as the right to vote, the right to possess a firearm,
11    the right to hold office, and the right to serve on a jury. Defendant
12    understands that he is pleading guilty to a felony and that it is a
13    federal crime for a convicted felon to possess a firearm or
14    ammunition.    Defendant understands that the conviction in this case
15    may also subject defendant to various other collateral consequences,
16    including but not limited to revocation of probation, parole, or
17    supervised release in another case and suspension or revocation of a
18    professional license.      Defendant understands that unanticipated
19    collateral consequences will not serve as grounds to withdraw
20    defendant’s guilty plea.
21          8.    Defendant understands that, if defendant is not a United
22    States citizen, the felony conviction in this case may subject
23    defendant to: removal, also known as deportation, which may, under
24    some circumstances, be mandatory; denial of citizenship; and denial
25    of admission to the United States in the future.              The Court cannot,
26    and defendant’s attorney also may not be able to, advise defendant
27    fully regarding the immigration consequences of the felony conviction
28    in this case.     Defendant understands that unexpected immigration

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 1    consequences will not serve as grounds to withdraw defendant’s guilty

 2    plea.

 3                 Defendant understands that defendant will be required to
 4    pay full restitution to the victim of the offense to which defendant
 5    is pleading guilty.      Defendant agrees that, in return for the USAO’s
 6    compliance with its obligations under this agreement, the Court may
 7    order restitution to persons other than the victim of the offense to
 8    which defendant is pleading guilty and in amounts greater than those
 9    alleged in the count to which defendant is pleading guilty.               In
10    particular, defendant agrees that the Court may order restitution to
11    any victim of any of the following for any losses suffered by that
12    victim as a result: (a) any relevant conduct, as defined in U.S.S.G.
13    § 1B1.3, in connection with the offense to which defendant is
14    pleading guilty; and (b) any counts pursuant to this agreement, as
15    well as all relevant conduct, as defined in U.S.S.G. § 1B1.3, in
16    connection with those counts.
17                                     FACTUAL BASIS
18                 Defendant admits that defendant is, in fact, guilty of the
19    offense to which defendant is agreeing to plead guilty.              Defendant
20    and the USAO agree to the statement of facts provided below and agree
21    that this statement of facts is sufficient to support a plea of
22    guilty to the charge described in this agreement but is not meant to
23    be a complete recitation of all facts relevant to the underlying
24    criminal conduct or all facts known to either party that relate to
25    that conduct.
26            On April 24, 2024, defendant set fire to the Retreat Church and
27    Yucaipa Christian Preschool (“the Church”) in Yucaipa, California.
28    Before setting the Church on fire, Nava traveled to a nearby gas

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 1    station and purchased a gas can and filled it with gasoline.               Nava

 2    then traveled to the Church with the gas can and poured the liquid on

 3    the front-door area of the Church.         Nava used an open-flame device to

 4    set the area on fire.      The fire damaged the Church’s interior carpet,

 5    the seal of the doorframe, and the outdoor mat.             Staff and children

 6    inside evacuated the building.        Nava then traveled to a nearby strip

 7    mall and set fire to the exterior wall, which resulted in no damage.

 8          Defendant set fire to the Church because of its religious

 9    character.    The Church includes a commercial daycare operation and is

10    actively engaged in interstate commercial activity by participating

11    in the market for childcare services.          The Church is also an

12    affiliate in, and sends part of its monetary donations to, a larger

13    church network headquartered in Kansas.

14                                  SENTENCING FACTORS

15                 Defendant understands that in determining defendant’s
16    sentence the Court is required to calculate the applicable Sentencing
17    Guidelines range and to consider that range, possible departures
18    under the Sentencing Guidelines, and the other sentencing factors set
19    forth in 18 U.S.C. § 3553(a).         Defendant understands that the
20    Sentencing Guidelines are advisory only, that defendant cannot have
21    any expectation of receiving a sentence within the calculated
22    Sentencing Guidelines range, and that after considering the
23    Sentencing Guidelines and the other § 3553(a) factors, the Court will
24    be free to exercise its discretion to impose any sentence it finds
25    appropriate up to the maximum set by statute for the crime of
26    conviction.
27                 Except as set forth in paragraph 3 above, defendant and the
28    USAO have no agreement as to the appropriate sentence or the

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 1    applicable Sentencing Guidelines factors.              Except as set forth in

 2    paragraph 3, both parties reserve the right to seek any sentence

 3    within the statutory maximum, and to argue for any criminal history

 4    score and category, base offense level, specific offense

 5    characteristics, adjustments, departures, and variances.

 6                Defendant understands that there is no agreement as to
 7    defendant’s criminal history or criminal history category.
 8                Defendant and the USAO reserve the right to argue for a
 9    sentence outside the sentencing range established by the Sentencing
10    Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
11    (a)(2), (a)(3), (a)(6), and (a)(7).
12                            WAIVER OF CONSTITUTIONAL RIGHTS
13                Defendant understands that by pleading guilty, defendant
14    gives up the following rights:
15                a.    The right to persist in a plea of not guilty.
16                b.    The right to a speedy and public trial by jury.
17                c.    The right to be represented by counsel –- and if
18    necessary have the Court appoint counsel -- at trial.               Defendant
19    understands, however, that, defendant retains the right to be
20    represented by counsel –- and if necessary have the Court appoint
21    counsel –- at every other stage of the proceeding.
22                d.    The right to be presumed innocent and to have the
23    burden of proof placed on the government to prove defendant guilty
24    beyond a reasonable doubt.
25                e.    The right to confront and cross-examine witnesses
26    against defendant.
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 1                f.    The right to testify and to present evidence in

 2    opposition to the charges, including the right to compel the

 3    attendance of witnesses to testify.

 4                g.    The right not to be compelled to testify, and, if

 5    defendant chose not to testify or present evidence, to have that

 6    choice not be used against defendant.

 7                h.    Any and all rights to pursue any affirmative defenses,

 8    Fourth Amendment or Fifth Amendment claims, and other pretrial

 9    motions that have been filed or could be filed.

10                             WAIVER OF APPEAL OF CONVICTION

11                Defendant understands that, with the exception of an appeal
12    based on a claim that defendant’s guilty plea was involuntary, by
13    pleading guilty defendant is waiving and giving up any right to
14    appeal defendant’s conviction on the offense to which defendant is
15    pleading guilty.        Defendant understands that this waiver includes,
16    but is not limited to, arguments that the statute to which defendant
17    is pleading guilty is unconstitutional, and any and all claims that
18    the statement of facts provided herein is insufficient to support
19    defendant’s plea of guilty.
20                     LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE
21                Defendant agrees that, provided the Court imposes a total
22    term of imprisonment on all counts of conviction of no more than 51
23    months, defendant gives up the right to appeal all of the following:
24    (a) the procedures and calculations used to determine and impose any
25    portion of the sentence; (b) the term of imprisonment imposed by the
26    Court; (c) the fine imposed by the Court, provided it is within the
27    statutory maximum; (d) to the extent permitted by law, the
28    constitutionality or legality of defendant’s sentence, provided it is

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 1    within the statutory maximum; (e) the amount and terms of any

 2    restitution order, provided it requires payment of no more than

 3    $10,000; (f) the term of probation or supervised release imposed by

 4    the Court, provided it is within the statutory maximum; and (f) any

 5    of the following conditions of probation or supervised release

 6    imposed by the Court: the conditions set forth in Second Amended

 7    General Order 20-04 of this Court; the drug testing conditions

 8    mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and

 9    drug use conditions authorized by 18 U.S.C. § 3563(b)(7).

10                Defendant also gives up any right to bring a postconviction
11    collateral attack on the conviction or sentence, except a post-
12    conviction collateral attack based on a claim of ineffective
13    assistance of counsel, a claim of newly discovered evidence, or an
14    explicitly retroactive change in the applicable Sentencing
15    Guidelines, sentencing statutes, or statutes of conviction. Defendant
16    understands that this waiver includes, but is not limited to,
17    arguments that the statute to which defendant is pleading guilty is
18    unconstitutional, and any and all claims that the statement of facts
19    provided herein is insufficient to support defendant’s plea of
20    guilty.
21                The USAO agrees that, provided (a) all portions of the
22    sentence are at or below the statutory maximum specified above and
23    (b) the Court imposes a term of imprisonment of no less than 41
24    months, the USAO gives up its right to appeal any portion of the
25    sentence, with the exception that the USAO reserves the right to
26    appeal the amount of restitution ordered.
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 1                       RESULT OF WITHDRAWAL OF GUILTY PLEA

 2                Defendant agrees that if, after entering a guilty plea

 3   pursuant to this agreement, defendant seeks to withdraw and succeeds

 4   in withdrawing defendant’s guilty plea on any basis other than a

 5   claim and finding that entry into this plea agreement was

 6   involuntary, then (a) the USAO will be relieved of all of its

 7   obligations under this agreement; and (b) should the USAO choose to

 8   pursue any charge that was either dismissed or not filed as a result

 9   of this agreement, then (i) any applicable statute of limitations

10   will be tolled between the date of defendant’s signing of this

11   agreement and the filing commencing any such action; and

12   (ii) defendant waives and gives up all defenses based on the statute

13   of limitations, any claim of pre-indictment delay, or any speedy

14   trial claim with respect to any such action, except to the extent

15   that such defenses existed as of the date of defendant’s signing this

16   agreement.

17                            EFFECTIVE DATE OF AGREEMENT

18                This agreement is effective upon signature and execution of
19   all required certifications by defendant, defendant’s counsel, and an
20   Assistant United States Attorney.
21                                BREACH OF AGREEMENT
22                Defendant agrees that if defendant, at any time after the
23   signature of this agreement and execution of all required
24   certifications by defendant, defendant’s counsel, and an Assistant
25   United States Attorney, knowingly violates or fails to perform any of
26   defendant’s obligations under this agreement (“a breach”), the USAO
27   may declare this agreement breached.       All of defendant’s obligations
28   are material, a single breach of this agreement is sufficient for the

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 1   USAO to declare a breach, and defendant shall not be deemed to have

 2   cured a breach without the express agreement of the USAO in writing.

 3   If the USAO declares this agreement breached, and the Court finds

 4   such a breach to have occurred, then: (a) if defendant has previously

 5   entered a guilty plea pursuant to this agreement, defendant will not

 6   be able to withdraw the guilty plea, and (b) the USAO will be

 7   relieved of all its obligations under this agreement.

 8              Following the Court’s finding of a knowing breach of this
 9   agreement by defendant, should the USAO choose to pursue any charge
10   that was either dismissed or not filed as a result of this agreement,
11   then:
12              a.   Defendant agrees that any applicable statute of
13   limitations is tolled between the date of defendant’s signing of this
14   agreement and the filing commencing any such action.
15              b.   Defendant waives and gives up all defenses based on
16   the statute of limitations, any claim of pre-indictment delay, or any
17   speedy trial claim with respect to any such action, except to the
18   extent that such defenses existed as of the date of defendant’s
19   signing this agreement.
20              c.   Defendant agrees that: (i) any statements made by
21   defendant, under oath, at the guilty plea hearing (if such a hearing
22   occurred prior to the breach); (ii) the agreed to factual basis
23   statement in this agreement; and (iii) any evidence derived from such
24   statements, shall be admissible against defendant in any such action
25   against defendant, and defendant waives and gives up any claim under
26   the United States Constitution, any statute, Rule 410 of the Federal
27   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal
28   Procedure, or any other federal rule, that the statements or any

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 1   evidence derived from the statements should be suppressed or are

 2   inadmissible.

 3          COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

 4                                OFFICE NOT PARTIES
 5              Defendant understands that the Court and the United States
 6   Probation and Pretrial Services Office are not parties to this
 7   agreement and need not accept any of the USAO’s sentencing
 8   recommendations or the parties’ agreements to facts or sentencing
 9   factors.
10              Defendant understands that both defendant and the USAO are
11   free to: (a) supplement the facts by supplying relevant information
12   to the United States Probation and Pretrial Services Office and the
13   Court, (b) correct any and all factual misstatements relating to the
14   Court’s Sentencing Guidelines calculations and determination of
15   sentence, and (c) argue on appeal and collateral review that the
16   Court’s Sentencing Guidelines calculations and the sentence it
17   chooses to impose are not error, although each party agrees to
18   maintain its view that the calculations in paragraph 12 are
19   consistent with the facts of this case.        While this paragraph permits
20   both the USAO and defendant to submit full and complete factual
21   information to the United States Probation and Pretrial Services
22   Office and the Court, even if that factual information may be viewed
23   as inconsistent with the facts agreed to in this agreement, this
24   paragraph does not affect defendant’s and the USAO’s obligations not
25   to contest the facts agreed to in this agreement.
26              Defendant understands that even if the Court ignores any
27   sentencing recommendation, finds facts or reaches conclusions
28   different from those agreed to, and/or imposes any sentence up to the

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 1   maximum established by statute, defendant cannot, for that reason,

 2   withdraw defendant’s guilty plea, and defendant will remain bound to

 3   fulfill all defendant’s obligations under this agreement.           Defendant

 4   understands that no one –- not the prosecutor, defendant’s attorney,

 5   or the Court –- can make a binding prediction or promise regarding

 6   the sentence defendant will receive, except that it will be within

 7   the statutory maximum.

 8                             NO ADDITIONAL AGREEMENTS

 9              Defendant understands that, except as set forth herein,
10   there are no promises, understandings, or agreements between the USAO
11   and defendant or defendant’s attorney, and that no additional
12   promise, understanding, or agreement may be entered into unless in a
13   writing signed by all parties or on the record in court.
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